
8 N.Y.2d 739 (1960)
In the Matter of Morgan D. Ryan, Appellant,
v.
Supreme Court of the State of New York et al., Respondents.
Court of Appeals of the State of New York.
Argued March 31, 1960.
Decided April 21, 1960.
N. LeVan Haver and John E. Egan for appellant.
Bernard Tompkins, Special Assistant Attorney-General (Wilfred R. Caron of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS and BURKE. Taking no part: Judge FOSTER.
Order affirmed, without costs; no opinion.
